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                              UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,
                                                  Case No. 18-CR-401-EJL
                Plaintiff,
                                                  MOTION TO UNSEAL SUPERSEDING
        vs.                                       INDICTMENT

 DAVID PAUL ROBERTS,
 STEVEN TODD THOMPSON,
 COLT MURDOCK SPENCER,
 TIMOTHY PATRICK HIGDEM,
 ECHO MARIE DALOS,
 CRYSTAL SUE COX,
 AMANDA RACHELLE SMITH,

                Defendants.


       The United States of America, by and through Bart M. Davis, United States Attorney,

and the undersigned Assistant United States Attorney for the District of Idaho, requests that the

Court Order the Clerk of Court to unseal the superseding indictment in this case. The reasons for

the sealing the superseding indictment are no longer applicable. Therefore, the government

requests the Court unseal the superseding indictment and any related coversheets.




MOTION TO UNSEAL SUPERSEDING INDICTMENT - 1
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     Respectfully submitted this 23rd day of April, 2019.

                                              BART M. DAVIS
                                              UNITED STATES ATTORNEY
                                              By:

                                             /s/ Christopher S. Atwood
                                             _______________________________________
                                              CHRISTOPHER S. ATWOOD
                                              Assistant United States Attorney




MOTION TO UNSEAL SUPERSEDING INDICTMENT - 2
